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 7

 8                               UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     ENTTECH MEDIA GROUP LLC,                    Case No. 2:20-cv-06298 JWH (Ex)
11
                    Plaintiff,                   Hon. John W. Holcomb
12
     v.                                          ANSWER AND AFFIRMATIVE
13                                               DEFENSES TO THE THIRD
     OKULARITY, INC. et al.,                     AMENDED COMPLAINT
14
                    Defendants.                  DEMAND FOR JURY TRIAL
15

16            Defendants Jon Nicolini and Okularity Inc. (“Answering Defendants”), for
17   themselves and no other party, respond to the Third Amended Complaint of
18   ENTTech Media Group LLC as follows:
19                                          ANSWER
20                                       As to the Parties
21            1.    Answering Defendants lack sufficient knowledge and information to
22   form a belief as to the truth of the allegations in Paragraph 1.
23            2.    Answering Defendants admit the allegations in paragraph 2.
24            3.    Answering Defendants admit the allegations in paragraph 3.
25            4.    Paragraph 4 does not contain any factual allegations against Answering
26   Defendants and therefore requires no response.
27            5.    Paragraph 5 does not contain any factual allegations against Answering
28   Defendants and therefore requires no response.
                                                 1

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 1         6.     Paragraph 6 does not contain any factual allegations against Answering
 2   Defendants and therefore requires no response.
 3         7.     Paragraph 7 does not contain any factual allegations against Answering
 4   Defendants and therefore requires no response.
 5         8.     Paragraph 8 does not contain any factual allegations against Answering
 6   Defendants and therefore requires no response.
 7                                     As to Jurisdiction
 8         9.     The Court’s March 10, 2021 Order dismissed the claim brought under
 9   the Racketeer Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C.
10   § 1962(c) and (d); therefore, allegations related to such claim require no response.
11   Answering Defendants admit that the Court has subject-matter jurisdiction over the
12   remaining claim.
13         10.    Answering Defendants admit that the Court has personal jurisdiction
14   over them. The remaining portions of Paragraph 10 do not contain factual allegations
15   against Answering Defendants and therefore require no additional response.
16         11.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
17   the allegations of Paragraph 11 require no response.
18                   As to the Allegations Common to All Causes of Action
19         12.    Answering Defendants deny the allegations in paragraph 12.
20         13.    Answering Defendants admit that the Digital Millennium Copyright Act
21   (“DMCA”) contains tools for copyright owners to employ in addressing unauthorized
22   uses of copyrighted material on websites; that those tools include a procedure known
23   as a DMCA takedown notice; and that the statute sets forth requirements that govern
24   the content of such takedown notices, including a statement made under penalty of
25   perjury. Except as expressly admitted, Answering Defendants deny the allegations in
26   paragraph 13.
27         14.    Answering Defendants admit that Instagram has posted a Repeat
28   Infringer Policy at https://www.facebook.com/help/instagram/1586774981367195.
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 1   Except as expressly admitted, Answering Defendants deny the allegations in
 2   paragraph 14, and specifically deny the alleged details of Instagram policies, which
 3   are not within Answering Defendants’ knowledge.
 4         15.    Answering Defendants admit that they have developed proprietary
 5   software that is designed to find still images on the World Wide Web; that
 6   Okularity’s systems automatically generate draft DMCA takedown notices for
 7   unauthorized uses of still images found on Instagram and some other websites; and
 8   that Nicolini told ENTTech’s counsel that Okularity’s systems are partially
 9   automated. Except as expressly admitted, Answering Defendants deny the allegations
10   in paragraph 15, and specifically deny that Nicolini’s September 25, 2020 declaration
11   is untruthful, or that Okularity submits DMCA takedown notices automatically,
12   without review or analysis.
13         16.    Answering Defendants deny the allegations in paragraph 16.
14         17.    Answering Defendants deny the allegations in paragraph 17.
15         18.    Answering Defendants deny the allegations in paragraph 18.
16                              As to Plaintiff Paper Magazine
17         19.    Answering Defendants lack sufficient knowledge and information to
18   form a belief as to the truth of the allegations in Paragraph 19.
19         20.    Answering Defendants lack sufficient knowledge and information to
20   form a belief as to the truth of the allegations in Paragraph 20.
21         21.    Answering Defendants lack sufficient knowledge and information to
22   form a belief as to the truth of the allegations in Paragraph 21.
23         22.    Answering Defendants lack sufficient knowledge and information to
24   form a belief as to the truth of the allegations in Paragraph 22.
25         23.    Answering Defendants admit that, on behalf of its customers Splash
26   News and Picture Agency, LLC, BackGrid USA, Inc., and Xposure Photo Agency,
27   Inc. (together, “the Photo Agencies”), Nicolini conveyed a demand of $1.01 million
28   to settle disputes concerning the unauthorized use of dozens of copyrighted images,
                                                 3

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 1   and further that Nicolini noted in that communication that the maximum statutory
 2   damages that could be awarded for the unauthorized uses was $4.65 million. Except
 3   as expressly admitted, Answering Defendants deny the allegations of paragraph 23.
 4                                      As to Defendants
 5         24.    Answering Defendants admit that Okularity is not a law firm; that
 6   Okularity is the authorized copyright agent of the Photo Agencies; that Nicolini is
 7   Okularity’s Chief Executive Officer; that Nicolini is not an attorney; that Nicolini
 8   developed Okularity’s proprietary software systems; and that Nicolini communicates
 9   and receives settlement demands and offers on behalf of the Photo Agencies. Except
10   as expressly admitted, Answering Defendants deny the allegations in paragraph 24.
11         25.    Paragraph 25 does not contain any factual allegations against Answering
12   Defendants and therefore requires no response.
13         26.    Paragraph 26 does not contain any factual allegations against Answering
14   Defendants and therefore requires no response.
15         27.    Answering Defendants deny the allegations in paragraph 27.
16         28.    Answering Defendants deny the allegations in paragraph 28.
17                        As to Okularity’s Conduct Against Paper
18         29.    Answering Defendants lack sufficient knowledge and information to
19   form a belief as to the truth of the allegations in Paragraph 29, which pertain to the
20   conduct of Instagram and “Paper.”
21         30.    Answering Defendants admit that Nicolini sent an email to ENTTech’s
22   CEO on July 8, 2020, and that the screenshot included in the Third Amended
23   Complaint is an accurate depiction of a portion of that email. Answering Defendants
24   further admit that Nicolini previously held the position of Chief Technology Officer
25   at a different company and developed a software product while in that position with
26   that company. Except as expressly admitted, Answering Defendants deny the
27   allegations of paragraph 30.
28
                                                 4

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 1         31.   Answering Defendants admit that Nicolini sent another email to
 2   ENTTech’s CEO on July 8, 2020, and that the screenshot included in the Third
 3   Amended Complaint is an accurate depiction of a portion of that email. Except as
 4   expressly admitted, Answering Defendants deny the allegations of paragraph 31.
 5         32.   Answering Defendants admit that Nicolini is not an attorney. Except as
 6   expressly admitted, Answering Defendants deny the allegations in paragraph 32.
 7         33.   Answering Defendants admit that Nicolini requested the routine use of a
 8   non-disclosure agreement before providing copies of DMCA take down notices to
 9   ENTTech. Except as expressly admitted, Answering Defendants deny the allegations
10   in paragraph 33.
11         34.   Paragraph 34 does not contain any factual allegations against Answering
12   Defendants and therefore requires no response.
13                      As to Count One – Violation of DMCA § 512(f)
14         35.   Answering Defendants repeat and incorporate their responses to the
15   previous paragraphs in response to the allegations of paragraph 35.
16         36.   Paragraph 36 does not contain any factual allegations against Answering
17   Defendants and therefore requires no response.
18         37.   Answering Defendants deny the allegations in paragraph 37.
19         38.   Paragraph 38 does not contain any factual allegations against Answering
20   Defendants and therefore requires no response. To the extent paragraph 38 is
21   construed to contain such factual allegations, Answering Defendants deny the
22   allegations in paragraph 38.
23         39.   Answering Defendants admit that Instagram has posted a Repeat
24   Infringer Policy at https://www.facebook.com/help/instagram/1586774981367195.
25   Except as expressly admitted, Answering Defendants deny the allegations in
26   paragraph 39, and specifically deny the alleged details of Instagram policies, which
27   are not within Answering Defendants’ knowledge.
28         40.   Answering Defendants deny the allegations in paragraph 40.
                                               5

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 1          41.   Answering Defendants admit that Nicolini communicated a demand to
 2   ENTtech, and further admit that in sending DMCA takedown notices and
 3   communicating and receiving settlement demands and offers Nicolini was acting on
 4   behalf of the Photo Agencies. Except as expressly admitted, Answering Defendants
 5   deny the allegations in paragraph 41.
 6          42.   Answering Defendants deny the allegations in paragraph 42.
 7          43.   Answering Defendants deny the allegations in paragraph 43, and
 8   specifically deny that plaintiff is entitled to damages and attorney fees, or any relief at
 9   all.
10                          As to Count Two – Violation Of RICO
11          44.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
12   the allegations of Paragraph 44 require no response.
13          45.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
14   the allegations of Paragraph 45 require no response.
15          46.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
16   the allegations of Paragraph 46 require no response.
17          47.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
18   the allegations of Paragraph 47 require no response.
19          48.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
20   the allegations of Paragraph 48 require no response.
21          49.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
22   the allegations of Paragraph 49 require no response.
23          50.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
24   the allegations of Paragraph 50 require no response.
25          51.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
26   the allegations of Paragraph 51 require no response.
27          52.   The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
28   the allegations of Paragraph 52 require no response.
                                                  6

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 1         53.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
 2   the allegations of Paragraph 53 require no response.
 3         54.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
 4   the allegations of Paragraph 54 require no response.
 5         55.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
 6   the allegations of Paragraph 55 require no response.
 7         56.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
 8   the allegations of Paragraph 56 require no response.
 9         57.    The Court’s March 10, 2021 Order dismissed the RICO claim; therefore,
10   the allegations of Paragraph 57 require no response.
11                                As to the Prayer for Relief
12         Answering Defendants deny that plaintiff is entitled to the relief requested, or
13   any relief at all, and requests that the Court dismiss all claims against Answering
14   Defendants with prejudice, grant Answering Defendants costs and attorney fees, and
15   order such further relief as the Court deems just and proper.
16         Furthermore, the Court’s March 10, 2021 Order dismissed the RICO claim,
17   so any damages, including treble damages, related to Count 2 are unavailable and
18   should be denied.
19                              AFFIRMATIVE DEFENSES
20         Further answering the Third Amended Complaint, Answering Defendants
21   assert the following defenses, undertaking the burden of proof only as to those
22   defenses required by law, regardless of how such defenses are denominated below.
23   Answering Defendants reserve the right to amend this answer with additional
24   defenses as further information is obtained.
25                                       First Defense
26         Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.
27   ///
28   ///
                                                 7

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 1                                       Second Defense
 2         Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean
 3   hands.
 4                                       Third Defense
 5         Plaintiff’s claims are barred, in whole or in part, because its damages, if any,
 6   were caused by independent, intervening and/or superseding events beyond the
 7   control of Answering Defendants and unrelated to Answering Defendants’ conduct.
 8   Any loss, injury, or damage claimed by plaintiff was proximately caused by
 9   plaintiff’s own acts or omissions, forces and events unrelated to Answering
10   Defendants’ alleged conduct, and/or the acts or omissions of persons or entities
11   other than Answering Defendants, over which Answering Defendants have no
12   control.
13                                       Fourth Defense
14         Plaintiff’s claim for attorneys’ fees is barred because it lacks any basis in law
15   or contract.
16                                        Fifth Defense
17         Answering Defendants are absolved from any and all liability for the wrongs
18   alleged in the Third Amended Complaint by reason of its full compliance with all
19   statutes, regulations, or other laws in effect at the time of the conduct alleged in the
20   Third Amended Complaint.
21                                        Sixth Defense
22         Plaintiff’s claims are barred, in whole or in part, because the damages sought
23   are too speculative and remote.
24                                      Seventh Defense
25         The action is barred, in whole or in part, because Answering Defendants
26   adhered to and followed the relevant standards and processes governed by the
27   Digital Millennium Copyright Act.
28
                                                  8

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 1                                      Eighth Defense
 2         Answering Defendants adopt and incorporate by reference any and all other
 3   affirmative defenses asserted or to be asserted by any other defendant in this action
 4   to the extent that Answering Defendants share such affirmative defenses.
 5

 6   Dated: March 24, 2021           Respectfully submitted,
 7                                   PERKOWSKI LEGAL, PC
 8                                   By:    /s/ Peter Perkowski
 9                                         Peter E. Perkowski
10                                         Attorneys for Defendants
                                           Okularity, Inc. and Jon Nicolini
11

12
                               DEMAND FOR JURY TRIAL
13
           Answering Defendants demand a trial by jury on all claims, defenses, or
14
     issues permitted.
15

16
     Dated: March 24, 2021           Respectfully submitted,
17
                                     PERKOWSKI LEGAL, PC
18
                                     By:    /s/ Peter Perkowski
19                                         Peter E. Perkowski
20                                         Attorneys for Defendants
                                           Okularity, Inc. and Jon Nicolini
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